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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 HARRIS COUNTY, TEXAS, et al.,

                            Plaintiffs,
                                                     Case No. 1:25-cv-01275-CRC
 v.

 ROBERT F. KENNEDY, JR., in his official
 capacity as Secretary of Health
 and Human Services, et al.,

                            Defendants.


                       PLAINTIFF’S RESPONSE TO DEFENDANTS’
                             MAY 23, 2025 DECLARATION

       Defendants’ declaration, ECF No. 25-1, filed last night in response to the Court’s May 21,

2025 Minute Order, makes clear that Defendants disregarded their statutory duties, even under

their own theory. As the declaration elucidates, Defendants failed to pay out the full amounts of

funding that Defendants had awarded to states and local governments pursuant to the 2020

Supplemental Act, the CARES Act, the Paycheck Protection Act, the CRRSAA, and the ARPA.

Worse still, as to the Paycheck Protection Act and CRRSAA specifically, Defendants concede that

they not only failed to pay out the full amount of the awards, but also they failed to pay out the

minimum amount Congress appropriated for states and local governments. May 23, 2025 Legier

Decl. ¶¶ 19, 23.

       Defendants’ admission as to the Paycheck Protection Act and CRRSAA grants

conclusively undermines their own defense to the identified constitutional and statutory violations.

And as to the remaining appropriations, nothing in this case turns on the specific amounts that

Congress designated as a minimum for states and local governments. The statutes imposed two


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duties on Defendants: (1) spend the appropriated amounts on public health preparedness; and (2)

devote at least a certain minimum amount of that spending to states and local governments. That

Defendants may have met the latter obligation for some of the congressional appropriations does

not change the fact that Defendants are in violation of the first. See Colorado v. HHS, No. 1:25-

cv-00121-MSM-LDA, 2025 WL 1426226, at *17 (D.R.I. May 16, 2025). Moreover, the agency’s

own explanation for the Mass Termination Decision, see PI Br., ECF No. 14, at 14, makes clear

that Defendants terminated the funding not because they thought that there were different ways to

address public health preparedness, but because they disagreed with Congress’s decision to keep

funding public health preparedness at all.

       Finally, Plaintiffs would like to clarify that more than $7 million is at issue for the four

Plaintiff Local Governments. The $7 million amount that Defendants have referred to, see Opp.

Br., ECF No. 21, at 40, is the amount that Defendants claim remained to be paid on the direct

grants. But the declarations attached to Plaintiff’s memorandum of law in support of the

preliminary injunction identify over $32 million in funding remaining to be paid to Plaintiff Local

Governments, directly or indirectly, at the time of the Mass Termination Decision, as set forth in

the table below:


 Jurisdiction                     Approximate Amount         Declaration Citations
 Columbus                         $3,103,000                 Johnson Decl. ¶ 13; Tong Decl. ¶ 9
 Kansas City                      $2,010,000                 Jones Decl. ¶¶ 8, 19, 25
 Nashville                        $8,600,000                 Thompson Decl. ¶ 10
 Harris County                    $19,000,000                Kiger Decl. ¶¶ 5, 12, 22;
                                                             Lal Decl. ¶ 5
                       TOTAL                  $32,713,000




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Dated: May 24, 2025               Respectfully submitted,

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